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     INC. ILENE ARELLANO, RAYMOND
   7 QUIROZ and BRIAN PORTER
   8
                                      UNITED STATES DISTRICT COURT
   9
                                     CENTRAL DISTRICT OF CALIFORNIA
  10
  11
       NIKE, INC.                                   Case No. 5:21-cv-01201
  12
                        Plaintiff,                  ANSWER OF RAYMOND QUIROZ
  13                                                TO FIRST AMENDED
                 v.
  14                                                COMPLAINT
       CUSTOMS BY ILENE,
  15                                                [DEMAND FOR JURY TRIAL]
                        Defendant.
  16
  17
  18             Defendant Raymond Quiroz (“Quiroz” or “Defendant”), for himself only, by
  19 and through his attorneys, hereby answers the First Amended Complaint asserted by
  20 Plaintiff Nike, Inc. (“Nike” or “Plaintiff”):
  21                                           ANSWER
  22                                       GENERAL DENIAL
  23             Unless specifically admitted below, Defendant denies each and every
  24 allegation set forth in the Answer. Any factual allegation admitted below is admitted
  25 only as to the specific admitted facts, not as to any purported conclusions,
  26 characterizations, implications, or speculations that arguably follow from the
  27 admitted facts. Defendant denies that Nike is entitled to the relief requested or any
  28 other relief.
       {06733673 / 2}
       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1
   2                                PRELIMINARY STATEMENT
   3             1.     Defendant denies that he has engaged in any alleged bad acts.
   4 Defendant lacks adequate information to admit or deny the remainder of allegations
   5 of Paragraph 1.
   6             2.     Defendant admits that Drip Creationz is a California-based company
   7 that resold authentic Nike Air Force 1 products purchased from Nike and its
   8 authorized distributors and sellers. Defendant denies the remainder of Paragraph 2.
   9             3.     Defendant admits that Drip Creationz sold customized Nike Air Force
  10 1 products. Defendant does not have sufficient information to admit or deny the
  11 authenticity of the images contained in this Paragraph as it cannot identify the
  12 source of these alleged photographs. Defendant denies the remainder of this
  13 Paragraph 3.
  14             4.     Defendant denies the allegations stated in Paragraph 4 of the First
  15 Amended Complaint.
  16             5.     Defendant denies the allegations stated in Paragraph 5 of the First
  17 Amended Complaint.
  18             6.     Defendant lacks sufficient information to admit or deny the facts and
  19 allegations of Paragraph 6
  20             7.     Defendant admits that Drip Creationz sold shoes referred to as “D1.”
  21 Defendant does not have sufficient information to admit or deny the authenticity of
  22 the image contained in this Paragraph as he cannot identify the source of this alleged
  23 photograph. Defendant denies the remainder of Paragraph 7.
  24             8.     Defendant denies the allegations stated in Paragraph 8 of the First
  25 Amended Complaint.
  26             9.     Defendant denies the allegations stated in Paragraph 9 of the First
  27 Amended Complaint.
  28
       {06733673 / 2}
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1             10.    Defendant admits that Dripz 2.0 operates within the State of California
   2 and has sold D1 shoes. Defendant denies the remainder of Paragraph 10.
   3             11.    Defendant denies the allegations stated in Paragraph 11.
   4             12.    Drip Creationz admits that the Individual Defendants have owned
   5 shares in Dripz 2.0.
   6             13.    Defendant lacks sufficient information to admit or deny the facts and
   7 allegations of Paragraph 13.
   8                                         THE PARTIES
   9             14.    Defendant lacks sufficient information to admit or deny the facts and
  10 allegations of Paragraph 14.
  11             15.    Defendant admits Paragraph 15.
  12             16.    Defendant lacks sufficient information to admit or deny the facts and
  13 allegations of Paragraph 16.
  14             17.    Defendant lacks sufficient information to admit or deny the business
  15 address of this individual.
  16             18.    Defendant lacks sufficient information to admit or deny the business
  17 address of this individual
  18             19.    .Defendant admits that he resides in this District. Defendant denies he
  19 has a business address in Corona, California.
  20                                 JURISDICTION AND VENUE
  21             20.    Defendant admits that jurisdiction is proper in this Court.
  22             21.    Defendant admits that Drip Creationz’s principal place of business is in
  23 this District and that it does business in this District. Defendant denies he has
  24 committed acts of infringement.
  25             22.    Defendant admits that Drip Creationz’s principal place of business is in
  26 this District and that it does business in this District. Defendant denies it has
  27 committed acts of infringement.
  28
       {06733673 / 2}
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1             23.    Defendant lacks sufficient information to admit or deny the facts and
   2 allegations of Paragraph 23.
   3             24.    Defendant lacks sufficient information to admit or deny the facts and
   4 allegations of Paragraph 24.
   5             25.    Defendant admits that he resides in this District.
   6             26.    Defendant denies the allegations stated in paragraph 26.
   7             27.    Defendant admits that venue is proper in this District with respect to
   8 claims against him.
   9                                  FACTUAL BACKGROUND
  10             28.    Defendant lacks sufficient information to admit or deny the facts and
  11 allegations of Paragraph 28.
  12             29.    Defendant lacks sufficient information to admit or deny the facts and
  13 allegations of Paragraph 29.
  14             30.    Defendant lacks sufficient information to admit or deny the facts and
  15 allegations of Paragraph 30.
  16             31.    Defendant denies the allegations stated in Paragraph 31 of the First
  17 Amended Complaint.
  18             32.    Defendant lacks sufficient information to admit or deny the facts and
  19 allegations of Paragraph 32.
  20             33.    Defendant lacks sufficient information to admit or deny the facts and
  21 allegations of Paragraph 33.
  22             34.    Defendant lacks sufficient information to admit or deny the facts and
  23 allegations of Paragraph 34.
  24             35.    Paragraph 35 contains a purported quotation of a Ninth Circuit opinion
  25 which does not require a response.
  26             36.    Defendant lacks sufficient information to admit or deny the facts and
  27 allegations of Paragraph 36.
  28
       {06733673 / 2}
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1             37.    Defendant lacks sufficient information to admit or deny the facts and
   2 allegations of Paragraph 37.
   3             38.    Defendant admits Paragraph 38.
   4             39.    Defendant lacks sufficient information to admit or deny the facts and
   5 allegations of Paragraph 39.
   6             40.    Defendant lacks sufficient information to admit or deny the facts and
   7 allegations of Paragraph 40.
   8             41.    Defendant admits that Nike promotes its products through a variety of
   9 means. Defendant lacks adequate information to admit or deny the precise types of
  10 means Nike utilizes.
  11             42.    Defendant lacks sufficient information to admit or deny the facts and
  12 allegations of Paragraph 42.
  13             43.    Defendant lacks sufficient information to admit or deny the facts and
  14 allegations of Paragraph 43.
  15             44.    Defendant admits that Nike was featured in the 2013 article accessible
  16 at https://www.complex.com/life/2013/03/the-50-most-iconic-brand-logos-of-all-
  17 time/nike.
  18             45.    Paragraph 45 lacks specificity and on that basis, Defendant denies.
  19             46.    Defendant admits that Nike is the listed owner with the USPTO of the
  20 registrations listed in Paragraph 46.
  21             47.    Defendant admits that Nike has made claims of incontestability for the
  22 registrations listed in Paragraph 47. Defendant lacks adequate information to admit
  23 or deny the validity of the incontestable statues of the listed registrations.
  24             48.    Defendant lacks sufficient information to admit or deny the facts and
  25 allegations of Paragraph 48.
  26             49.    Defendant lacks sufficient information to admit or deny the facts and
  27 allegations of Paragraph 49.
  28
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1             50.    Defendant lacks sufficient information to admit or deny the facts and
   2 allegations of Paragraph 50.
   3             51.    Defendant lacks sufficient information to admit or deny the facts and
   4 allegations of Paragraph 51.
   5             52.    Defendant lacks sufficient information to admit or deny the facts and
   6 allegations of Paragraph 52.
   7             53.    Defendant lacks sufficient information to admit or deny the facts and
   8 allegations of Paragraph 53.
   9             54.    Defendant lacks sufficient information to admit or deny the facts and
  10 allegations of Paragraph 54.
  11             55.    Defendant lacks sufficient information to admit or deny the facts and
  12 allegations of Paragraph 55.
  13             56.    Defendant admits that customers may design customized shoes at
  14 Nike.com. Defendant lacks adequate information to admit or deny the remaining
  15 facts and allegations of Paragraph 56.
  16             57.    Defendant lacks sufficient information to admit or deny the facts and
  17 allegations of Paragraph 57.
  18             58.    Defendant lacks sufficient information to admit or deny the facts and
  19 allegations of Paragraph 58.
  20             59.    Defendant lacks sufficient information to admit or deny the facts and
  21 allegations of Paragraph 59.
  22             60.    Defendant admits that Nike is the listed owner with the USPTO of the
  23 registrations listed in Paragraph 60.
  24             61.    Defendant denies that each of the marks listed in Paragraph 49 have
  25 achieved incontestable status. Most specifically, Registration No. 4902368 has been
  26 canceled by the USPTO. Registration No. 5820374 has not filed an affidavit
  27 regarding incontestability as of the date of this Answer.
  28
       {06733673 / 2}
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1             62.    Paragraph 62 consists of a statement that does not require an admission
   2 or denial.
   3             63.    Defendant lacks sufficient information to admit or deny the facts and
   4 allegations of Paragraph 63.
   5             64.    Defendant lacks sufficient information to admit or deny the facts and
   6 allegations of Paragraph 64.
   7             65.    Defendant denies the allegations stated in Paragraph 65 of the First
   8 Amended Complaint.
   9             66.    Defendant denies that he promotes or sells any products in a manner
  10 which infringes upon the rights of Nike.
  11             67.    Defendant lacks sufficient information to admit or deny the allegations
  12 of Paragraph 67.
  13             68.    Defendant denies that he promotes or sells any products in a manner
  14 which infringes upon the rights of Nike.
  15             69.    Defendant denies the allegations stated in Paragraph 69 of the First
  16 Amended Complaint.
  17             70.    Defendant denies the allegations stated in Paragraph 70 of the First
  18 Amended Complaint.
  19             71.    Defendant denies the allegations stated in Paragraph 71 of the First
  20 Amended Complaint.
  21             72.    Defendant denies the allegations stated in Paragraph 72 of the First
  22 Amended Complaint.
  23             73.    Defendant denies the allegations stated in Paragraph 73 of the First
  24 Amended Complaint.
  25             74.    Defendant denies the allegations stated in Paragraph 74 of the First
  26 Amended Complaint.
  27             75.    Defendant denies the allegations stated in Paragraph 75 of the First
  28 Amended Complaint.
       {06733673 / 2}
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1             76.    Defendant denies the allegations stated in Paragraph 76 of the First
   2 Amended Complaint.
   3             77.    Defendant admits that Drip Creationz promoted and sold customized
   4 Air Force 1 shoes. Defendant denies the remainder of Paragraph 77 and the
   5 implication that direct approval of Nike is necessary or required for lawful sale of
   6 customized products.
   7             78.    Defendant admits that Drip Creationz promoted and sold customized
   8 Air Force 1 shoes. Defendant denies the remainder of Paragraph 78 and the
   9 implication that direct approval of Nike is necessary or required for lawful sale of
  10 customized products.
  11             79.    Defendant admits that Drip Creationz transported products in their
  12 original, authentic Nike boxes with additional markings. Drip Creationz does not
  13 have sufficient information to admit or deny the authenticity of the images contained
  14 in this Paragraph as he cannot identify the source of these alleged photographs.
  15 Defendant denies that a likelihood of confusion exists.
  16             80.    Defendant admits that Drip Creationz sold customized products without
  17 direct approval of Nike. Defendant denies the remainder of allegations of this
  18 Paragraph and the implication that direct approval of Nike is necessary or required
  19 for lawful sale of customized products.
  20             81.    Defendant denies the allegations stated in Paragraph 81 of the First
  21 Amended Complaint.
  22             82.    Defendant admits that Drip Creationz sold a product called “D1”.
  23 Defendant does not have sufficient information to admit or deny the authenticity of
  24 the images contained in this Paragraph as he cannot identify the source of these
  25 alleged screenshots. Defendant denies the remainder of the allegations in Paragraph
  26 82 including the truth of the allegations contained within the alleged screenshots
  27 included.
  28
       {06733673 / 2}
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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   1             83.    Defendant admits that “D1” products are not Nike products. Defendant
   2 denies the remainder of allegations of Paragraph 83 and the implication that direct
   3 approval of Nike is necessary or required for lawful sale of customized products.
   4             84.    Defendant denies the allegations stated in Paragraph 84 of the First
   5 Amended Complaint.
   6             85.    Defendant denies the allegations stated in Paragraph 85 of the First
   7 Amended Complaint.
   8             86.    Defendant denies the allegations stated in Paragraph 86 of the First
   9 Amended Complaint.
  10             87.    Defendant denies the allegations stated in Paragraph 87 of the First
  11 Amended Complaint.
  12             88.    Defendant denies the allegations stated in Paragraph 88 of the First
  13 Amended Complaint.
  14             89.    Defendant denies the allegations stated in Paragraph 89 of the First
  15 Amended Complaint.
  16             90.    Defendant denies the allegations stated in Paragraph 90 of the First
  17 Amended Complaint.
  18             91.    Defendant denies the allegations stated in Paragraph 91 of the First
  19 Amended Complaint.
  20             92.    Defendant admits that Drip Creationz sold patches for customization of
  21 shoes. Defendant does not have sufficient information to admit or deny the
  22 authenticity of the images contained in this Paragraph as he cannot identify the
  23 source of these alleged photographs. Defendant denies the remainder of allegations
  24 in Paragraph 92.
  25             93.    Defendant admits that Drip Creationz has used the word “Swoosh” in
  26 its marketing. Defendant does not have sufficient information to admit or deny the
  27 authenticity of the images contained in this Paragraph as he cannot identify the
  28 source of these alleged photographs.
       {06733673 / 2}
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       ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1             94.    Defendant admits that Drip Creationz has sold patches that are not Nike
    2 products. Defendant denies the remainder of allegations of this Paragraph and the
    3 implication that direct approval of Nike is necessary or required for lawful sale of
    4 customized products.
    5             95.    Defendant denies the allegations stated in Paragraph 95 of the First
    6 Amended Complaint.
    7             96.    Defendant denies the allegations stated in Paragraph 96 of the First
    8 Amended Complaint.
    9             97.    Defendant denies the allegations stated in Paragraph 97 of the First
  10 Amended Complaint.
  11              98.    Defendant denies the allegations stated in Paragraph 98 of the First
  12 Amended Complaint.
  13              99.    Defendant denies the allegations stated in Paragraph 99 of the First
  14 Amended Complaint.
  15              100. Defendant denies the allegations stated in Paragraph 100 of the First
  16 Amended Complaint.
  17              101. Defendant denies the allegations stated in Paragraph 101 of the First
  18 Amended Complaint.
  19              102. Defendant denies the allegations stated in Paragraph 102 of the First
  20 Amended Complaint.
  21              103. Defendant denies the allegations stated in Paragraph 103 of the First
  22 Amended Complaint.
  23              104. Defendant denies the allegations stated in Paragraph 104 of the First
  24 Amended Complaint.
  25              105. Defendant denies the allegations stated in Paragraph 105 of the First
  26 Amended Complaint.
  27              106. Defendant denies the allegations stated in Paragraph 106 of the First
  28 Amended Complaint.
        {06733673 / 2}
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1             107. Defendant denies the allegations stated in Paragraph 107 of the First
    2 Amended Complaint.
    3             108. Defendant denies the allegations stated in Paragraph 108 of the First
    4 Amended Complaint.
    5             109. Defendant denies the allegations stated in Paragraph 109 of the First
    6 Amended Complaint.
    7             110. Defendant denies the allegations stated in Paragraph 110 of the First
    8 Amended Complaint.
    9             111. Defendant denies the allegations stated in Paragraph 111 of the First
  10 Amended Complaint.
  11              112. Defendant denies the allegations stated in Paragraph 112 of the First
  12 Amended Complaint.
  13              113. Defendant denies the allegations stated in Paragraph 113 of the First
  14 Amended Complaint.
  15                                COUNT I: COUNTERFEITING
  16                             IN VIOLATION OF 15 U.S.C. § 1114
  17              114. Paragraph 114 consists of a statement that does not require an
  18 admission or denial.
  19              115. Defendant denies the allegations stated in Paragraph 115 of the First
  20 Amended Complaint.
  21              116. Defendant denies the allegations stated in Paragraph 116 of the First
  22 Amended Complaint.
  23              117. Defendant denies the allegations stated in Paragraph 117 of the First
  24 Amended Complaint.
  25              118. Defendant denies the allegations stated in Paragraph 118 of the First
  26 Amended Complaint.
  27              119. Defendant denies the allegations stated in Paragraph 119 of the First
  28 Amended Complaint.
        {06733673 / 2}
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1             120. Defendant denies the allegations stated in Paragraph 120 of the First
    2 Amended Complaint.
    3             121. Defendant denies the allegations stated in Paragraph 121 of the First
    4 Amended Complaint.
    5             122. Defendant denies the allegations stated in Paragraph 122 of the First
    6 Amended Complaint.
    7             123. Defendant denies the allegations stated in Paragraph 123 of the First
    8 Amended Complaint.
    9             124. Defendant denies the allegations stated in Paragraph 124 of the First
  10 Amended Complaint.
  11                        COUNT II: TRADEMARK INFRINGEMENT
  12                             IN VIOLATION OF 15 U.S.C. § 1114
  13              125. Defendant repeats, and fully incorporates by reference, his answers to
  14 Paragraphs 1–125 of the First Amended Complaint.
  15              126. Defendant denies the allegations stated in Paragraph 126 of the First
  16 Amended Complaint.
  17              127. Defendant denies the allegations stated in Paragraph 127 of the First
  18 Amended Complaint.
  19              128. Defendant denies the allegations stated in Paragraph 128 of the First
  20 Amended Complaint.
  21              129. Defendant denies the allegations stated in Paragraph 129 of the First
  22 Amended Complaint.
  23              130. Defendant denies the allegations stated in Paragraph 130 of the First
  24 Amended Complaint.
  25              131. Defendant denies the allegations stated in Paragraph 131 of the First
  26 Amended Complaint.
  27              132. Defendant denies the allegations stated in Paragraph 132 of the First
  28 Amended Complaint.
        {06733673 / 2}
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1                     COUNT III: FALSE DESIGNATION OF ORIGIN/
    2            UNFAIR COMPETITION IN VIOLATION OF 15 U.S.C. § 1125(A)
    3             133. Defendant repeats, and fully incorporates by reference, his answers to
    4 Paragraphs 1–133 of the First Amended Complaint.
    5             134. Defendant denies the allegations stated in Paragraph 134 of the First
    6 Amended Complaint.
    7             135. Defendant denies the allegations stated in Paragraph 135 of the First
    8 Amended Complaint.
    9             136. Defendant denies the allegations stated in Paragraph 136 of the First
  10 Amended Complaint.
  11              137. Defendant denies the allegations stated in Paragraph 137 of the First
  12 Amended Complaint.
  13              138. Defendant denies the allegations stated in Paragraph 138 of the First
  14 Amended Complaint.
  15              139. Defendant denies the allegations stated in Paragraph 139 of the First
  16 Amended Complaint.
  17                           COUNT IV: TRADEMARK DILUTION
  18                            IN VIOLATION OF 15 U.S.C. § 1125(C)
  19              140. Defendant repeats, and fully incorporates by reference, his answers to
  20 Paragraphs 1–114 of the First Amended Complaint.
  21              141. Defendant denies the allegations stated in Paragraph 141 of the First
  22 Amended Complaint.
  23              142. Defendant denies the allegations stated in Paragraph 142 of the First
  24 Amended Complaint.
  25              143. Defendant denies the allegations stated in Paragraph 143 of the First
  26 Amended Complaint.
  27              144. Defendant denies the allegations stated in Paragraph 144 of the First
  28 Amended Complaint.
        {06733673 / 2}
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1             145. Defendant denies the allegations stated in Paragraph 145 of the First
    2 Amended Complaint.
    3             146. Defendant denies the allegations stated in Paragraph 146 of the First
    4 Amended Complaint.
    5             147. Defendant denies the allegations stated in Paragraph 147 of the First
    6 Amended Complaint.
    7             148. Defendant denies the allegations stated in Paragraph 148 of the First
    8 Amended Complaint.
    9                            COUNT V: UNFAIR COMPETITION
  10                     UNDER CAL. BUS. & PROF. CODE §§ 17200, ET SEQ.
  11              149. Defendant repeats, and fully incorporates by reference, his answers to
  12 Paragraphs 1–149 of the First Amended Complaint.
  13              150. Defendant denies the allegations stated in Paragraph 150 of the First
  14 Amended Complaint.
  15              151. Defendant denies the allegations stated in Paragraph 151 of the First
  16 Amended Complaint.
  17               COUNT VI: COMMON LAW TRADEMARK INFRINGEMENT
  18                                AND UNFAIR COMPETITION
  19              152. Defendant repeats, and fully incorporates by reference, his answers to
  20 Paragraphs 1–152 of the First Amended Complaint.
  21              153. Defendant denies the allegations stated in Paragraph 153 of the First
  22 Amended Complaint.
  23              154. Defendant denies the allegations stated in Paragraph 154 of the First
  24 Amended Complaint.
  25              155. Defendant denies the allegations stated in Paragraph 155 of the First
  26 Amended Complaint.
  27              156. Defendant denies the allegations stated in Paragraph 156 of the First
  28 Amended Complaint.
        {06733673 / 2}
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1             157. Defendant denies the allegations stated in Paragraph 157 of the First
    2 Amended Complaint.
    3             158. Defendant denies the allegations stated in Paragraph 158 of the First
    4 Amended Complaint.
    5                                    PRAYER FOR RELIEF
    6             Defendant denies that Nike is entitled to any relief requested against
    7 Defendant.
    8
    9                                  AFFIRMATIVE DEFENSES
  10                               FIRST AFFIRMATIVE DEFENSE
  11                                      (Failure to State a Claim)
  12              1.     Nike’s claims, in whole or in part, fail to state a claim upon which
  13 relief can be granted.
  14                              SECOND AFFIRMATIVE DEFENSE

  15                                   (No Likelihood of Confusion)

  16              2.     There is no likelihood of confusion between Nike’s asserted marks and

  17 the marks and/or usages made by Defendant.
  18                       THIRD AFFIRMATIVE DEFENSE

  19                                              (Fair Use)
                  3.     The acts of Defendant are excluded from liability based upon the
  20
        doctrine of fair use.
  21
                                  FOURTH AFFIRMATIVE DEFENSE
  22
                                            (First Sale Doctrine)
  23
                  4.     The First Amended Complaint is barred in whole or in part on the
  24
        grounds that Defendant’s resale of the goods amount to a resale by the first
  25
        purchaser of the original product and is thus protected under the first sale doctrine
  26
        and does not constitute trademark infringement or unfair competition.
  27
  28
        {06733673 / 2}
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1                              FIFTH AFFIRMATIVE DEFENSE
    2                                         (Implied License)
    3             5.     Nike has issued to Defendant an implied license to customize or
    4 otherwise resell Nike products.
    5                              SIXTH AFFIRMATIVE DEFENSE
    6                                            (No Harm)
    7             6.     Nike has sustained no harm, irreparable or otherwise, due to the alleged
    8 actions of Defendant.
    9                     SEVENTH AFFIRMATIVE DEFENSE
  10                                     (Invalidity of Trademarks)

  11              7.     One or more of the asserted marks of Nike is invalid based upon its

  12 failure to operate as a mark and/or a failure of Nike to make continuous use of its
  13 purported marks.
  14                              EIGHTH AFFIRMATIVE DEFENSE

  15                                    (Doctrine of Unclean Hands)
                  8.     Nike’s claims, in whole or in part, are barred by the doctrine of unclean
  16
        hands.
  17
                                   NINTH AFFIRMATIVE DEFENSE
  18
                                            (Unjust Enrichment)
  19
                  9.     Nike’s claims are barred, in whole or in part, because any recovery
  20
        would result in Nike’s unjust enrichment.
  21
                                   TENTH AFFIRMATIVE DEFENSE
  22
                                              (Implied License)
  23
                  10.    Nike’s claims are barred, in whole or in part, because it has issued an
  24
        implied license to Defendant in relation to the resale and customization of Nike’s
  25
        products.
  26
  27
  28
        {06733673 / 2}
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1                           ELEVENTH AFFIRMATIVE DEFENSE
    2                                             (Laches)
    3             11.    Nike’s claims are barred, in whole or in part, based upon the doctrine of
    4 laches.
    5                            TWELFTH AFFIRMATIVE DEFENSE
    6                                             (Waiver)
    7             12.    Nike’s claims are barred, in whole or in part, based upon the doctrine of
    8 waiver.
    9                         THIRTEENTH AFFIRMATIVE DEFENSE
  10                                           (Acquiescence)

  11              13.    Nike’s claims are barred, in whole or in part, based upon the doctrine of

  12 acquiescence.
  13                                    REQUEST FOR RELIEF

  14              Wherefore, given Defendant above response to the First Amended Complaint,

  15 Defendant respectfully requests that this Court grant him the following relief:
             1.    That the First Amended Complaint be dismissed with prejudice and
  16
     judgment granted in favor of Defendant;
  17
             2.    That the Court award Defendant his reasonable attorneys’ fees in
  18
     connection with this litigation pursuant to 15 U.S.C. § 1117, this being an
  19
     exceptional case;
  20
             3.    That the Court award Defendant his costs in connection with this
  21
     litigation; and
  22
             4.    That the Court award Defendant such other and further relief as the
  23
     Court deems just and proper.
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
Case 5:21-cv-01201-JWH-SP Document 58 Filed 10/05/22 Page 18 of 21 Page ID #:680




    1                                   JURY TRIAL DEMAND
    2             Defendant Quiroz respectfully demands a jury on all issues so triable.
    3
    4 DATED: October 5, 2022                          Respectfully submitted,
    5                                                 MESSNER REEVES LLP
    6
    7
    8                                                       /s/ Andrew Hollins
    9                                                 Andrew Hollins
                                                      Allan B. Claybon
  10                                                  Attorneys for CUSTOMS BY ILENE,
  11                                                  INC. ILENE ARELLANO, RAYMOND
                                                      QUIROZ and BRIAN PORTER
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
Case 5:21-cv-01201-JWH-SP Document 58 Filed 10/05/22 Page 19 of 21 Page ID #:681




    1 CASE NAME: NIKE, INC. V. CUSTOMS BY ILENE, INC.
    2 ACTION NO.:              USDC – SOUTHERN DISTRICT CASE NO.:
                                 5:21-CV-01201
    3
    4                                    CERTIFICATE OF SERVICE

    5
        METHOD OF SERVICE
    6
    7         ¨ First Class Mail              ¨ Facsimile                          ¨ Messenger Service
    8         ¨ Overnight Delivery            ý E-Mail/Electronic delivery
    9    1. At the time of service I was over 18 years of age and not a party to this action.
  10     2. My business address is 650 Town Center Drive, Suite 700, Costa Mesa, California 92626,
         County of Orange County.
  11
         3. On October 5, 2022I served the following documents:
  12
  13 ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
  14     4. I served the documents on the persons at the address below (along with their fax numbers
        and/or email addresses if service was by fax or email):
  15
                                       SEE ATTACHED SERVICE LIST
  16
          5. I served the documents by the following means:
  17
                 a. ¨ By United States mail: I enclosed the documents in a sealed envelope or package
  18     addressed to the persons at the addresses specified in item 4 and placed the envelope for
         collection and mailing, following our ordinary business practices. I am readily familiar with this
  19     business’s practice for collecting and processing correspondence for mailing. On the same day
         that correspondence is placed for collection and mailing, it is deposited in the ordinary course of
  20     business with the United States Postal Service, in a sealed envelope with postage fully prepaid at
         the address listed in Paragraph 2 above.
  21
                 b. ¨ By overnight delivery: I enclosed the documents in an envelope or package
  22     provided by an overnight delivery carrier and addressed to the persons at the addresses in item 4.
         I placed the envelope or package for collection and overnight delivery at an office or a regularly
  23     utilized drop box of the overnight delivery carrier.

  24             c. ¨ By messenger: I served the documents by placing them in an envelope or package
         addressed to the persons at the addresses listed in item 4 and providing them to a messenger for
  25     service.

  26             d. ¨ By fax transmission: Based on an agreement between the parties and in
         conformance with Rule 2.306, and/or as a courtesy, I faxed the documents to the persons at the
  27     fax numbers listed in item 4. No error was reported by the fax machine that I used. A copy of
         the record of the fax transmission is attached.
  28
        {06733673 / 2}
                                                         19
        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
Case 5:21-cv-01201-JWH-SP Document 58 Filed 10/05/22 Page 20 of 21 Page ID #:682




    1            e. XX By email or electronic transmission: Based on an agreement between the parties
         and/or as a courtesy, I sent the documents via my electronic service address
    2    (mestrada@messner.com) to the persons at the email addresses listed in item 4. I did not receive,
         within a reasonable time after the transmission, any electronic message or other indication that
    3    the transmission was unsuccessful.

    4           I declare that I am employed in the office of a member of the bar of this court at whose
        direction the service was made.
    5
                  Date: October 5, 2022                 /s/ Mary Estrada
    6
                                                                         Mary Estrada
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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
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    1                                      SERVICE LIST

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        ANSWER OF RAYMOND QUIROZ TO FIRST AMENDED COMPLAINT
